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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


 NIMITZ TECHNOLOGIES LLC,

                           Plaintiff,                    Case No. 1:21-cv-01363-CFC

                              v.                          JURY TRIAL DEMANDED

 SKILLSHARE, INC.,

                          Defendant.



                                    REPLY TO COUNTERCLAIMS

          Plaintiff and Counterclaim Defendant Nimitz Technologies LLC (“Nimitz”) hereby answers

the counterclaims of Defendant and Counterclaim Plaintiff Counterclaim Plaintiff Skillshare, Inc.

(“Skillshare” or “Defendant”). The headings are included for reference purposes only. If any

headings are construed to contain allegation(s) against the Plaintiff or Counterclaim Defendant, the

allegation(s) are denied. Each allegation not specifically admitted in this Answer is expressly

denied.

                                   SKILLSHARE’s COUNTERCLAIMS

                                               PARTIES

          1.       Admitted.

          2.       Admitted.

                                        JURISDICTION AND VENUE

          3.       Nimitz repeats and incorporates by reference Paragraphs 1-2 above, as though

fully set forth herein.

          4.       Nimitz admits that Defendant has filed Counterclaims seeking a declaration of

patent non-infringement and invalidity arising under the Declaratory Judgment Act, 28 U.S.C. §

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2201, et seq., and the patent laws of the United States, 35 U.S.C. § 1, et seq. Otherwise the

paragraph is Denied.

        5.         Admitted that personal jurisdiction is present, and otherwise Denied.

        6.         Admitted that venue is proper, and otherwise Denied.

                 COUNT I: DECLARATION REGARDING INFRINGEMENT

        7.         Nimitz repeats and incorporates by reference Paragraphs 1-6 above, as though

fully set forth herein.

        8.         Admitted that an actual controversy exists, and otherwise Denied.

        9.         Denied.

        10.        No response is required. In the event a response is required, Denied.

                     COUNT II: DECLARATION REGARDING VALIDITY

        11.        Nimitz repeats and incorporates by reference Paragraphs 1-10 above, as though

fully set forth herein.

        12.        Admitted that an actual controversy exists, and otherwise Denied.

        13.        Denied.

        14.        Admitted that an actual controversy exists, and otherwise Denied.

                                        GENERAL DENIAL

        Nimitz denies each and every averment and allegation in Defendant’s Counterclaims that

Nimitz has not expressly admitted.

                                      PRAYER FOR RELIEF

        Plaintiff Nimitz Technologies LLC respectfully requests that the Court find in its favor and

against Defendant Skillshare, Inc., and that the Court grant Plaintiff the following relief:

        A.      an adjudication that Defendant had infringed Patent 7,848,328;

        B.      denial of any relief pursuant to any and all counterclaims;

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   C.    an award of damages to be paid by Defendant adequate to compensate Plaintiff for

         Defendant’s past infringement of the Patent, including pre-judgment and post-

         judgment interest, costs, expenses, and an accounting of all infringing acts; and

   D.    any and all such further relief at law or in equity that the Court may deem just and

         proper, including but not limited to attorneys’ fees.



                                           /s/ George Pazuniak
                                           George Pazuniak (DE Bar No. 478)
                                           O’Kelly & O’Rourke, LLC
                                           824 North Market Street, Suite 1001A
                                           Wilmington, DE 19801
                                           Direct: 207-359-8576
                                           gp@del-iplaw.com

                                           Attorneys for Plaintiff




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